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INTHE UNITED STATES Districrcourt | |) £82007 | |
SOUTHERN DISTRICT OF MISSISSIPPI |, SRNR
SOUTHERN DIVISION Stee |
ONLY AL-KHIDHR PLAINTIFE
VERSUS crit actionno: | 1/0 // 26.0 JMR

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE,

in his official and individual capacity, DIRECTOR

OF OPERATIONS MAJOR WAYNE PAYNE,

in his official and individual capacity; DIRECTOR

OF CORRECTIONS MAJOR DIANE GASTON RILEY,
in her official and individual! capacity; DIRECTOR OF
INTERNAL AFFAIRS CAPTAIN STEVE CAMPBELL,
in his official and individual capacity; SUPER VISOR

OF BOOKING CAPTAIN RICK GASTON, in his
official and individual capacity; CORRECTIONS
OFFICER SERGEANT RYAN TEEL, in his

official and individual capacity; CORRECTIONS
OFFICERS MORGAN THOMPSON, in his official

and individual capacity, CORRECTIONS OFFICERS
JOHN DOE 1-4 in their official and individual capacity;
AMERICAN CORRECTIONAL ASSOCIATION and its
EXECUTUVE DIRECTOR JAMES A. GONDLES, JR.
and employee(s} JOHN AND/OR JANE DOE 1-3;
HEALTH ASSURANCE LLC and its employee(s)
JOHN AND/OR JANE DOE 1-2 DEFENDANTS

COMPLAINT

PLAINTIFF REQUESTS A TRIAL BY JURY
COMES NOW the Plaintiff, Only Al-Khidhr, by and through his undersigned
Counsel, James Bailey Halliday, Attorney and Counselor at Law, and Robert G.
Harenski, Attorney at Law, and files this his COMPLAINT, for gross deprivation of his

civil rights resulting in grievous physical and mental injuries and related and resultant
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damages, against these Defendants and in support thereof, respectfully submits the
following to this Honorable Court:
PRELIMINARY STATEMENT OF CLAIM

1. This is a Federal Civil Rights lawsuit, claim and action brought under 42
USC § 1983, 42 USC § 1985, 42 USC § 1986 and 42 USC § 1988 and under the
protections, privileges and provisions afforded the Plaintiff, Only Al-Khidhr, and any
similarly situated accused and arrested citizen temporarily incarcerated as a "pre-trial
detainee" under the Due Process Clause of the Fourth Amendment to the United States
Constitution and the Fourteenth Amendment to the United States Constitution and also
the protections afforded incarcerated prisoners under the provisions and standards of the
Eight Amendment to the United States Constitution as that Amendment applies to pre-
trial detainees held in certain circumstances and conditions similar and/or analogous to
convicted offenders incarcerated in a penal institution as prisoners.

2. Your Plaintiff, Only Al-Khidhr, alleges that, on or about March 13, 2005
he was brutally beaten by Corrections Officers of Harrison County while temporarily
held in custody as a pre-trial detainee in the Booking Department of the Harrison County
Adult Detention Center/Facility located in Gulfpor'Gulfport, Mis

3. The aforementioned Corrections Officers, while acting under color of law,
willfully, wantonly and intentionally used excessive force against Only Ai-Khidhr in an
act of corporal punishment amounting to an assault and battery resulting in significant
injury to his person.

4, That after a complaint was made concerning these gross abuses and

injuries your Plaintiff Only Al-Khidhr suffered, high ranking officials of the Harrison
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County Sheriffs Department, with final decision making authority, engaged in acts to
falsely deny and/or cover-up what had occurred and further threaten the injured Plaintiff
with retaliatory actions.

5. That similar actions by Harrison County Corrections Officers, acting
under color and authority of law, of civil rights violations, abuse and injurious use of
excessive force as acts of corporal punishment amounting to assault and battery against
other inmates and pre-trial detainees and cover-ups by officials occurred both before and
after these injurious actions of abuse against Only Al-Khidhr to such an extent as to
evidence a prior and continuing pattern, custom and usage of similar violations regarding
the constitutional protections afforded persons incarcerated within the Harrison County
Adult Detention Center (HCADC).

6. That the Defendants, Harrison County Board of Supervisors and Sheriff
George Payne were well aware of: (1) a Consent Decree issued in 1995 by the United
States District Court; (2) continuing violations of that Consent Decree and (3) other
official correspondence from the United States Department of Justice notifying these
Defendants of continuing concerns of other deprivations within the HCADC; yet failed to
take any affirmative action to prevent the continuation of such abuse and deprivations
and/or come into compliance with the Consent Decree thus evidencing a “deliberate
indifference” by them.

7. That these defendants, knew or should have know, of the conditions
existing within the HCADC, including the custom and pattern of use of abuse of inmates
and detainees and misuse of injurious excessive force; and that such continuing

conditions and abusive actions within the HCADC became a widespread practice to

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constitute a custom and usage with the force of law credibly evidencing a conscious
choice and “deliberate indifference" by the defendants which would foreseeably and
consequently result in continued abusive violations and serious harm of incarcerated
persons including your Plaintiff, Only Al-Khidhr.

8. That the Defendants, Harrison County Beard of Supervisors and Sheriff
George Payne, and/or their appointed officials granted and clothed with final policy
and/or decision making authority, whether actual or de facto, participated, encouraged,
authorized or acquiesced in the existence and continuation of the deprivation of civil
rights, injurious abuse of and injuries to inmates and detainees including your Plaintiff,
Only Al-Khidhr.

9. That the Defendants, Harrison County Board of Supervisors and Sheriff
George Payne, and/or their appointed officials granted and clothed with final policy
and/or decision making authority, whether actual or de facto, participated, encouraged,
authorized or acquiesced in the existence of subordinate officials’ failure to properly
supervise, control, direct, discipline and/or train Harrison County Corrections Officers to
prevent these constitutional violations resulting directly, foreseeable and consequently in
continuing abuses of and use of injurious excessive force on inmates and detainees held
within the HCADC including your Plaintiff, Only Al-Khidhr.

JURISDICTION OF THE COURT

10. This Honorable District Court has original jurisdiction under 28 U.S.C. §
1331 Federal Question for all civil actions arising under the Constitution of the United
States and 28 U.S.C. § 1343 to redress deprivations, under color of state law, custom or

usage, of any right, privilege or immunity secured by the Constitution of the United
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States or by any Act of Congress providing for equal rights of citizens or all persons
within the jurisdiction of the United States and to recover damages or other relief under
any Act of Congress providing for the protection of civil rights. This is a Complaint
brought against the Defendants for the intentional violation of liberties secured, protected
and guaranteed by the Fourth, Eighth and Fourteenth Amendments to the Constitution of
the United States and by the applicable Federal Statutes prohibiting such deprivations,
more particularly, 42 U.S.C. § 1983, 42 U.S.C. § 1985, 42 U.S.C. § 1986 and 42 U.S.C. §
1988 wherein your Plaintiff is seeking to obtain a judgment for all damages, including all
allowable costs of this suit and an award of reasonable attorney's fees, suffered and
sustained by the Plaintiff, Only Al-Khidhr, for the egregious and heinous acts committed
against him under color and authority of law, resulting in his significant and serve
injuries.
VENUE

1t. The filing of this Complaint in the United States District Court for the
Southern District of Mississippi, is proper pursuant to 28 U.S.C. § 1391 (b) as a
substantial part of the events or omissions giving rise to the claim occurred in Harrison
County, Mississippi, which is part of this Court's jurisdictional district and division.

PARTIES TO THE LAWSUIT
PLAINTIFF
12. Plaintiff, Only Al-Khidhr, is a citizen of the United States of America and

currently resides in Biloxi, Mississippi.
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DEFENDANTS

13. Defendant, Harrison County, Mississippi, by and through its Board of
Supervisors, is a political subdivision of the State of Mississippi and is the entity having
ultimate authority, responsibility and control of and for the oversight, decisions affecting
and funding of the Harrison County Sheriff and the Harrison County Adult Detention
Center. As such, the Board of Supervisors is ultimately responsible for all local policies,
procedures practices and customs employed by its law enforcement officials, supervisors
and officers. Defendant may be served with process by lawfully affecting same upon the
current President of the Board, Honorable Larry Benefield, and/or the Chancery Clerk for
wrison County, Mississippi, Honorable John McAdams; both at the locacation of their
official offices located within the Harrison County Courthouse in Gulfport, Mississippi.

14. Defendant, George Payne, at all times relevant to this Complaint, was the
duly elected Sheriff of Harrison County, Mississippi, is an adult resident citizen of
Harrison County, Mississippi. As Sheriff, Defendant Payne was vested with the final
decision making authority and responsibility to hire, train, supervise, set policies and
determine procedures, enforce policies and procedures, delegate authority and generally
oversee and supervise the daily operation of the entire Harrison County Sheriff's
Department and all its divisions, departments and personnel including the Harrison
County Adult Detention Center (HCADC). As such, he was directly and personally
responsible for the safety and well-being of all persons detained, confined, incarcerated
or otherwise held, regardless of individual status, within the HCADC. Sheriff Payne is
sued in his individual and official capacity. He may be served with process as authorized

by law where he or his duly authorized designee, at his offices within the Harrison
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County Courthouse or at the HCADC located at 10451 Larkin Smith Drive, Gulfport,
Mississippi.

15. Defendant, Wayne Payne, at all times relevant to this Complaint, was the
appointed Chief Deputy for the Sheriff of Harrison County, Mississippi, and/or the
Director of Operations commissioned as a Deputy Sheriff and holding the rank of Major,
is an adult resident citizen of Harrison County, Mississippi. As a Director of Operations
holding the rank of Major, Defendant Payne was vested with final decision making
authority and responsibility to hire, train, supervise, set policies and determine
procedures, enforce policies and procedures, delegate authority and generally oversee and
supervise the daily operation of the entire Harrison County Sheriff's Department and all
its divisions, departments and personnel including the Harrison County Adult Detention
Center (HCADC). As such, he was directly and personally responsible for the safety and
well-being of all persons detained, confined, incarcerated or otherwise held, regardless of
individual status within the HCADC. Defendant Payne is sued in his individual and
official capacity. He may be served with process as authorized by law where he or his
orized designee, at his offices within the Harrison County Courthous¥ourthouse or at the
HCADC located at 10451 Larkin Smith Drive, Gulfport, Vasseiee or at his office
located within the City Hall of D'fberville, Mississippi.

16. Defendant, Dianne Gaston-Riley, at all tumes relevant to this Complaint,
was appointed by the Sheriff of Harrison County, Mississippi, as the Director of
Corrections and commissioned as a Deputy Sheriff and holding the rank of Major, was
(and is believed to still be) an adult resident citizen of Mississippi, living within the

jurisdiction of this Court. As a Director of Corrections, holding the rank of Major,
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Defendant Gaston-Riley was vested with final decision making authority and
responsibility to hire, train, supervise, set policies and determine procedures, enforce
policies and procedures, delegate authority and generally oversee and supervise the daily
operation for the Harrison County Sheriffs Department Adult Detention Center
(HCADC). As such, she was directly and personally responsible for the safety and well-
being of all persons detained, confined, incarcerated or otherwise held, regardless of
individual status within the HCADC, Defendant Gaston-Riley is sued in her official and
individual capacities. She may be served with process as authorized by law where she
may be found.

17. Defendant, Steve Campbell, at all times relevant to this Complaint, was
the appointed Director of Internal Affairs for the Sheriff of Harrison County, Mississippi,
and commissioned as a Deputy Sheriff holding the rank of Captain, was (and is believed
to still be} an adult resident citizen of Mississippi, living within the jurisdiction of this
Court. As a Director of Internal Affairs holding the rank of Major, Defendant Campbell
was vested with final decision making authority and responsibility to train, supervise, set
policies and determine procedures, enforce policies and procedures, delegate authority
and generally oversee and supervise the daily operations of the entire Harrison County
Sheriffs Department and all its divisions, departments and personnel including the
Harrison County Adult Detention Center (HCADC). As such, he was directly and
personally responsible for the safety and well-being of all persons detained, confined,
incarcerated or otherwise held, regardless of individual status within the HCADC.
Defendant Campbell is sued in his official and individual capacities. He may be served

with process as authorized by law where he may be found.
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18. Defendant Rick Gaston, at all times relevant to this Complaint, was the
appointed Supervisor of the Booking Department for the Sheriff of Harrison County,
Mississippi, and commissioned as a Deputy Sheriff holding the rank of Captain, was (and
is believed to still be) an adult resident citizen of Mississippi, living within the
jurisdiction of this Court. As the Captain in charge of the Booking Department,
Defendant Gaston was vested with final decision making authority and responsibility to
train, supervise, set policies and determine procedures, enforce policies and procedures,
delegate authority and generally oversee and supervise the daily operations of the
Harrison County Sheriffs Booking Department within the Harrison County Adult
Detention Center (HCADC)}. As such, he was directly and personally responsible for the
safety and well-being of all persons detained, confined, incarcerated or otherwise held,
regardless of individual status within the HCADC. Defendant Gaston is sued in his
official and individual capacities. He may be served with process as authorized by law
where he may be found.

19. The Defendant, Ryan Teel, at all times relevant to this Complaint, was a
Shift Supervisor of the Booking Department for the Sheriff of Harrison County,
Mississippi, appointed and commissioned as a Corrections Officer holding the rank of
Sergeant, was an adult resident citizen of Mississippi, and within the jurisdiction of this
Court. As a Shift Supervisor in charge of a specific Booking Department shift,
Defendant Teel was vested with de facto final decision making authority and
responsibility to train, supervise, set policies and determine procedures, enforce policies
and procedures, delegate authority and generally oversee and supervise the daily

operations of his specific shift of the Harrison County Sheriffs Booking Department
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within the Harrison County Adult Detention Center (HCADC). As such, he was directly
and personally responsible for the safety and well-being of all persons detained, confined,
incarcerated or otherwise held, regardless of individual status within the HCADC
Booking Department during his shift. Defendant Teel is sued in his official and
individual capacities. He may be served with process as authorized by law where he may
be found as a convicted offender incarcerated within the authority of the Federal Bureau
of Prisons for criminal violation of the civil rights of individuals under his control and
authority while employed by the Sheriff's Department as a Corrections Officer assigned
to the Booking Department.

20. Defendant, Morgan Thompson, at all times relevant to this Complaint, was
an appointed and commissioned Corrections Officer of the Booking Department for the
Sheriff of Harrison County, Mississippi, was an adult resident citizen of Mississippi and
within the jurisdiction of this Court. As a Corrections Officer, Thompson participated in
the daily operations of his specific shift of the Harrison County Sheriff's Booking
Department within the Harrison County Adult Detention Center GHCADC). As such, he
was directly and personally responsible for the safety and well-being of all persons
detained, confined, incarcerated or otherwise held, regardless of individual status within
the HCADC. Defendant Thompson is sued in his official and individual capacities. He
may be served with process as authorized by law where he may be found as he is a
convicted offender incarcerated within the authority of the Federal Bureau of Prisons for
criminal violation of the civil rights of individuals under his control and authority while
employed by the Sheriff's Department as a Corrections Officer assigned to the Booking

Department.

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21. Defendants, John Does 1-4, at all times relevant to this Complaint, were
appointed as commissioned Corrections Officers (based on information and belief to be
Officers Preston Wills, Carl Stoltz, and other yet unidentified officers) of the Booking
Department for the Sheriff of Harrison County, Mississippi, were (and are believed to
still be) adult resident citizens of Mississippi, and within the jurisdiction of this Court.
As Corrections Officers, they participated in the daily operations of their specific shift of
the Harrison County Sheriff's Booking Department within the Harrison County Adult
Detention Center (HCADC). As such, they were directly and personally responsible for
the safety and well-being of all persons detained, confined, incarcerated or otherwise
held, regardless of individual status within the HCADC. Defendants John Doe are sued
in their official and individual capacities. They may be served with process as authorized
by law where they may be found. Some of these as yet positively identified Defendants
are believed to be convicted offenders incarcerated within the authority of the Federal
Bureau of Prisons for criminal violations of the civil rights of individuals under their
control and authority while employed by the Sheriff's Department as Corrections Officers
assigned to the Booking Department.

22. Defendant, the American Correctional Association (ACA) is a national
private non-profit 501 (c) (3) organization, formed under the laws of the State of New
York, with its main office located at the address of 206 North Washington Street, Suite
200, Alexandria, VA 22314; (703) 224-0000. ACA is a corrections association and
believed to be the largest in the world. The ACA, upon specific request, evaluates
prisons, jails and related detention and correctional facilities to assess those facilities in

accordance with "national standards" and other self-determined peneological criteria to

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determine if a facility meets and/or complies with recognized standards involving all
aspects of operations, conditions and treatment of incarcerated persons. With this
evaluation, the ACA issues an “accreditation” to the facility indicating that the evaluated
facility meets and/or complies with the "standards" set by the ACA. For this evaluation,
the ACA receives a fee. The ACA had evaluated the HCADC prior to Al-Khidhr's
beating and issued its “accreditation” on behalf of Sheriff George Payne and the Harrison
County Sheriff's Department indicating to the citizens of Harrison County and the general
public on or about August 7, 2005, that the HCADC meet and/or complied with the
"standards" set for "accreditation" by the ACA, even though, the HCADC remained
under a Consent Decree from the United States District Court concerning improper
conditions of confinement and under scrutiny of the United States Department of Justice
which had issued statements of concern regarding "a pattern of inmate abuse." The ACA
may be served with lawful process upon the current President Gary D. Maynard (2006-
2008) and/or any other corporate officer duly empowered to receive lawful service of
process on behalf of ACA at the ACA's main corporate offices at the address of 206
North Washington Street, Suite 200, Alexandria, VA 22314; (703) 224-0000.

23. Defendants, John and/or Jane Doe, at all times relevant to this Complaint,
were appointed and employed by ACA as auditors to inspect and/or evaluate the HCADC
to determine if it was in compliance with the applicable “Mandatory Standards" and
applicable "Non-Standards for Adult Local Detention Facilities" per the Accreditation
Contract with ACA of May 2005. Defendants, John and/or Jane Doe, determined that the
HCADC was in compliance, even though, the HCADC remained under a Consent Decree

from the United States District Court concerning improper conditions of confinement and

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under scrutiny of the United States Justice Department which had issued statements of
concern regarding "a very disturbing pattern of misuse of force" and the HCADC was re-
accredited on or about August 7, 2005. These three Defendants are unknown to the
Plaintiff at this time but upon positive identification, may be served where they may be
found and their individual names added to this Complaint in accordance with the
applicable Rules of Federal Civil Procedure and this Honorable Court.

24, The Defendant, James A. Gondles, Jr., at all times relevant to this
Complaint, was the Executive Director for Defendant ACA and the corporate officer for
ACA and was at all times personally and ultimately responsible for the management of
the day-to-day operation of ACA and its programs, including the Correctional Facility
Accreditation Program operated by the Commission on Accreditation for Corrections (a
division of ACA), and the ACA officer who actually signed the initiating Accreditation
Contract between the ACA and the HCADC. Gondles may be served as allowed by law
at the main corporate office of the ACA located at the address of 206 North Washington
Street, Suite 200, Alexandria, VA 22314; (703) 224-0000 or where he may be found.

25. The Defendant, Health Assurance LLC (hereinafter “Health Assurance”)
provides on-site primary health care services for correctional institutions. At all times
material hereto, Health Assurance was under contract with Harrison County, Mississippi,
to provide certain professional medical services to inmates, detainees and other persons
held within the HCADC in a timely and reliable manner as might be required. Health
Assurance is a domestic corporation with its principal offices located at the address of

5903 Ridgewood Road, Suite 320, Jackson, Mississippi 39211, and may be served with

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lawful process upon its registered agent, Melvin Priester at the address of 371 Edgewood
Terrace Drive, Jackson, Mississippi 39206.

26. Defendant(s), John and/or Jane Doe, at all times material hereto, were
employed by Health Assurance, LLC to provide certain on-site professional medical
services to inmates, detainees and other persons within the HCADC in a timely and
reliable manner as might be required. These Defendants are unknown to the Plaintiff at
this time but upon positive identification, may be served where they may be found and
their individual names added to this Complaint in accordance with the applicable Federal
Rules of Civil Procedure and this Honorable Court.

STATEMENT OF THE CASE
VIOLATION OF CONSTITUTIONAL PROTECTIONS AFFORDED
PRE-TRIAL DETAINEE ONLY AL-KHIDHR RESULTING IN
SERIOUS INJURY BY CORRECTIONS OFFICERS AND MEDICAL STAFF
ACTING UNDER COLOR OF STATE LAW

27. +‘ This is a Federal Civil Rights lawsuit, claim and action brought under 42
USC § 1983, 42 USC § 1985, 42 USC § 1986 and 42 USC § 1988 and under the
protections and provisions afforded the Plaintiff, Only Al-Khidhr, and any similarly
situated accused and arrested citizen as a “pre-trial detainee" under the Due Process
Clause of the Fourth Amendment to the United States Constitution and the Fourteenth
Amendment to the United States Constitution and also the protections afforded
incarcerated prisoners under the provisions and standards of the Eight Amendment to the
United States Constitution as that Amendment applies to pre-trial detainees held in

certain circumstances and conditions similar and/or analogous to convicted offenders

incarcerated in a penal institution as prisoners.

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28. While temporarily held in the Harrison County Adult Detention Center
(HCADC), on or about March 13, 2005 Al-Khidhr was brutally beaten by Corrections
Officers using excessive force, in the course and scope of their employment and while
acting under color of state law as local officials for Harrison County, Mississippi,
resulting in serious injuries and a gross deprivation of protective constitutional provisions
and complete denial of Al-Khidhr's due process and related civil rights.

29. All the public officials and private Defendants injurious and harmful
actions against Al-Khidhr are alleged to have been committed while acting under "color
of law", specifically state law and authority, resulting in gross deprivations of the
Plaintiffs afforded and asserted constitutional rights, interests, immunities and
protections, resulting in serious, severe and significant physical and mental injuries.

30. ‘In the alternative, the private Defendant, ACA, its officers and employees
committed separate and distinct private torts against Al-Khidhr as set forth in detail
within this Complaint that ultimately resulted in gross harm to his person.

31, In the alternative, the private Defendant, Health Assurance LLC and its
employees committed separate and distinct private torts against Al-Khidhr as set forth in
detail within this Complaint that ultimately resulted in gross harm to his person.

DELIBERATE INDIFFERNCE TO AL-KHIDHR'S MEDICAL NEEDS

32. The private Defendant's, Health Assurance LLC, employees willful,
intentional, injurious and harmful actions against Al-Khidhr are alleged to have been
committed while acting individually and/or in concert with the other public official
Defendants (while at all times material hereto under contract with Harrison County

Sheriffs Department and/or Harrison County, Mississippi to provide professional
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medical care and related health services to inmates and detainees at the HCADC)
evidencing a "deliberate indifference" to the obvious medical care and related health
needs of the injured Plaintiff and acting or otherwise participating in harmful, intentional
and conspiratorial conduct under "color of law" with the public official Defendants
and/or during cooperative state action and/or activity. These injuries suffered by Al-
Khidhr were immediately obvious and apparent (even to non-medical professional/lay
person) evidencing the need for timely medical attention.

33. | Among the injuries Al-Khidhr sustained from his beating were:

A. Both of his eyes were severely swollen, bruised, blackened and
bloodied;

B. One eye was swollen completely shut;

Cc. A large bloody gash was between his eyes;

D. His whole face was deformed and distended;

E. His nose was broken and there were numerous cuts on his face;

F. His clothing was covered in his own blood. His injuries were so
gross and obvious that his appearance was literally shocking. [A copy of the Official
HCADC Booking photograph of Al-Khidhr is attached hereto as Exhibit “A”, and
incorporated herein by reference.]

34. Health Assurance employees’ actions/inactions and deliberate indifference
to the serious medical needs of Al-Khidhr was an intentional denial and/or delay of
needed and necessary medical care and treatment for his injuries to such an extent that it
rose to the level of willful, wanton and intentional infliction of pain and constituted cruel

and unusual punishment resulting in a gross deprivation of federal nights, privileges,

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protections and immunities afforded Al-Khidhr under the Fourth, Eighth and Fourteen
Amendments to the United States Constitution.

35. In the alternative, Health Assurance LLC and its employees’ fatlure to
provide the proper medical care and treatment for Plaintiffs obvious and apparent
injuries, objectively serious medical needs and conditions, and substantial pain and
suffering caused by the actions and/or inactions of the other Defendants that their
actions/inactions constituted a substantial departure from accepted medical practice to the
level that their actions/inactions demonstrated an absence of professional medical
judgment that no minimally competent professional would have responded/not responded
under the circumstances of Al-Khidhr's beating and resultant gross injuries to such an
extent to evidence "deliberate indifference.”

36. Employees of Health Assurance, on duty at the HCADC when Al-Khidhr
was brutally beaten, intentionally ignored the obvious and apparent injuries inflicted upon
him that created an objectively serious medical need which they were aware of, but
disregarded.

37. Such disregard created a substantial risk of serious harm and/or a risk of
serious damage to AL-Khidhr's future health and an intentional infliction of pain and
suffering by the denial and/or delay of needed medical treatment.

38. Such disregard to Al-Khidhr's obvious medical needs also amounted to
conspiratorial and concerted actions with Corrections Officers in Booking to discount,
minimize, cover-up and otherwise conceal the wanton and abusive misuse of force

against Al-Khidhr and other similarly situated pre-trial detainees.

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CONSPIRACY BETWEEN HARRISON COUNTY OFFICIALS AND ACA
TO OBTAIN FRAUDULENT ACA ACCREDITATION

39. The private Defendant, American Correctional Institution, injurious and
harmful actions affecting Ai-Khidhr are alleged to have been committed while acting in
concert with the public official Defendants evidencing a "deliberate indifference" to Al-
Khidhr and other similarly situated pre-trial detainees within the HCADC resulting in
denial and deprivations of the federal rights, privileges, protections and immunities
afforded Al-Khidhr under the Fourth, Eighth and Fourteen Amendments to the United
States Constitution and acting or otherwise participating in "conspiratorial conduct" with
the public official Defendants under "color of law,” specifically state law, thus becoming
a state actor.

40. American Correctional Institution (ACA) and its officers and employees,
acting in concert with Sheriff Payne and/or officials of the Harrison County Sheriffs
Department and/or the HCADC (with final decision making authority), while under
contract with Harrison County, allegedly inspected and/or evaluated the HCADC on or
about May 16" through May 18" of 2005 to determine if the HCADC was in compliance
with the applicable ACA's nationally recognized "Mandatory Standards" and applicable
"Non-Mandatory Standards for Aduit Local Detention Facilities" per the Accreditation
Contract with ACA of May 3, 2005.

4]. Defendants, John and/or Jane Does, as auditors for ACA, and/or the
ACA's Executive Director James A. Gondles, Jr. the corporate officer for ACA
personally and ultimately responsible for the management of the day-to-day operation of
ACA and its programs, including the Correctional Facility Accreditation Program

operated by the Commission on Accreditation for Corrections {a division of ACA)

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determined that the HCADC was in one hundred percent (100%) compliance with all
applicable ACA Mandatory Standards, regardless of the fact that the HCADC remained
under a 1995 Consent Decree from the United States District Court concerning
continuing and unresolved improper conditions of confinement and regardless of the fact
that the HCADC was under the scrutiny of the United States Justice Department which
had formally issued written statements of concern directly to policy making officials of
Harrison County (the Supervisors and the Sheriff) regarding "a very disturbing pattern of
misuse of force."

42. The aforesaid notification was sent by the Justice Department to the
Supervisors and the Sheriff (separately to each) via formal correspondence dated July 20,
2005, between the time the ACA auditors were on-site at the HCADC in May of 2005,
and the ACA's accreditation of the HCADC on or about August 7, 2005.

43. Based on this alleged inspection by ACA Auditors, the ACA issued a
accreditation of the HCADC on August 7, 2005, stating that the HCADC was one
hundred percent (100%) in compliance with all applicable "Mandatory Standards" and
ninety-seven point one percent (97.1%) of all applicable "Non-Mandatory Standards for
Adult Local Detention Facilities", despite the fact that the HCADC remained under (and
was in continuing violation of) a 1995 Consent Decree from the United States District
Court concerning improper conditions of confinement and under scrutiny of the United
States Department of Justice which had issued a strong statement of concern regarding "a
very disturbing pattern of misuse of force" and other relevant and related defective and

deficient conditions within the HCADC.

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44, Therefore, this alleged accreditation was patently defective and otherwise
false and fraudulent because of the pre-existing and continuing defective and deficient
conditions within the HCADC and with a very disturbing pattern of misuse of force and
other problems that existed {as determined by the U.S. Department of Justice) at the time
of the ACA inspection/audit/evaluation. Under these existing defective and deficient
conditions and abusive and otherwise improper treatment of inmates and detainees, it was
not possible for the HCADC to be in compliance as reported by the ACA and Sheriff
Payne.

45. Aware that the HCADC did not, and could not, meet the required criteria
for accreditation, the Sheriff and/or other officials of the Harrison County Sheriff's
Department with final decision making authority entered into a 'conspiracy' with the
ACA Auditors and/or corporate officers and/or other employees of the ACA to obtain the
desired accreditation.

46. The aforementioned ‘conspiracy’ involved a mutual agreement and
meeting of the minds between these officials and the ACA, for the ACA auditors to
intentionally ignore, overlook and/or cover-up and conceal the obvious deficiencies of the
HCADC that did not meet the ACA specified criteria to obtain the required level of
‘compliance’ to obtain the desired accreditation.

47. In exchange, the inspecting ACA auditors and/or other ACA officials
received a monetary payment, payoff and/or bribe, tangible benefit and/or other quid quo
pro from the Sheriff and/or officials with final decision making authority of the Harrison
County Sheriff's Department. This monetary payment or other tangible benefit and/or

quid quo pro was concealed from the general public and was separate and distinct from

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the contractual fees paid to the ACA for its compliance audit for accreditation of the
HCADC.

48. Therefore, the ACA, its officers and employees by joining in this
conspiracy were willful participants in a joint enterprise with the Sheriff and other public
officers and officials of Harrison County to intentionally deceive the public of the actual
existing deficient and defective conditions within the HCADC and the very disturbing
pattern of misuse of force. Thus, the ACA, its officers and participating employees by
this willful participation became "state actors."

49. This patently defective, false and/or fraudulent ACA accreditation was
actively and intentionally promulgated and otherwise disseminated within the public
venue by the Sheriff and/or Harrison County Officials to intentionally deceive the public
that the conditions of confinement within the HCADC meet one hundred percent (100%)
of the Mandatory ACA Standards, when they did not.

50. This patently defective, false and/or fraudulent ACA accreditation was
used by the Sheriff and/or other Harrison County Officials to intentionally deceive
members of the public who were concerned about the conditions within the HCADC and
citizens complaining of abuses to them, family and/or friends, etc. occurring within the
HCADC, and convince them that the conditions of confinement within the HCADC meet
one hundred percent (100%) of the ACA's "Mandatory Standards" for the required and
appropriate nationally recognized ‘conditions of confinement’, when they did not.

51. Specific to Al-Khidhr, this false and fraudulent ACA accreditation was
intentionally and deceptively used by Defendants Steve Campbell and Rick Gaston to

respond to his the complaints.

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52. in responding to concerns of Al-Khidhr regarding his mistreatment while
at the HCADC, Campbell and Gaston relied upon the fact that the HCADC was
accredited and met “national standards” under the leadership of Sheriff Payne; and thus,
attempted to convince Al-Khidhr that what happened to him was solely his own fault, and
not the fault of theirs or their Corrections Officers.

53. The ACA, by providing accreditation to a patently deficient and defective
corrections facility under a long standing U.S. District Court Consent Decree and under
the scrutiny of the U.S. Department of Justice, which facility the ACA, its auditors and
officials were aware did not meet the required mandatory ACA standards, evidenced a
“conscience shocking" and “deliberate indifference” to the constitutionally mandated
rights, privileges and protections required for the welfare and safety inmates and
detainees within the HCADC.

54. The ACA, its officials and inspecting employees’ intentional, fraudulent,
deceitful, deficient and defective actions, by conspiratorially deceiving the public with
officials of Harrison County through its false accreditation, committed an illegal action
by obtaining money allocated to be used for the public good under false pretenses and by
fraudulent actions.

55. The ACA, its officials and inspecting employees’ intentional, fraudulent,
deceitful, deficient and defective actions, by conspiratorially deceiving the public through
false accreditation, directly allowed the prevailing and prevalent officially identified
‘conditions of abuse’ to continue within the HCADC.

56. It was these ‘conditions of abuse’ that lead directly to the constitutional

deprivations and subsequent gross injuries suffered by Al-Khidhr when he was brutally

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beaten in Booking only about (60) days before the false and fraudulent ACA
accreditation process began (on-site accreditation process began on May 16, 2005 and
Al-Khidhr's beating on or about March 13, 2005).

57. The ACA'’s Executive Director James A. Gondles, Jr. as the corporate
officer for ACA, personally and ultimately responsible for the management of the day-to-
day operation of ACA and its programs, including the Correctional Facility Accreditation
Program, operated by the Commission on Accreditation for Corrections (a division of
ACA), and the ACA officer who actually signed the initiating Accreditation Contract (on
May 5, 2005) between the ACA and the HCADC (referred to in the contract as Harrison
County Detention Facility), had a duty to properly manage and supervise his inspecting
auditors on behalf of ACA and therefore knew, or should have known, of the conspiracy
between his inspecting employees at the HCADC and officials of Harrison County.

58. | Gondles had an affirmative duty to prevent such conspiracy which he
negligently and/or intentionally failed to do; resulting in the continuing constitutional
deprivations of pre-trial detainees leading ultimately to the violations and injuries
incurred by Al-Khidhr.

59. The ACA, Sheriff and/or policy making officials of the Sheriffs
Department were well aware that the ACA's Accreditation is considered the national
standard by which correctional facilities such as the HCADC are evaluated and of other
desired and tangible benefits of the HCADC remaining accredited by the ACA, as the
ACA's website (ACA.org) clearly states that accreditation by the ACA is used by
accredited correctional facilities to obtain “public recognition of a considerable honor

among correction institutions" of this “national benchmark." Further, ACA accreditation

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is used to: "Demonstrate to interested parties that it (the accredited facility) is operating at
acceptable professional levels." ACA's website also states that their accreditation is used
to: “Comply with court orders;” “Defend against frivolous lawsuits,” and ultimately that
“ACA standards are used as a basic tool to ensure the constitutional rights of the
offender.”

60. The ACA, its corporate officers and/or evaluating auditors became “state
actors” under “color of law” when they engaged in a conspiracy with the Sheriff and/or
policy making officials of the Harrison County Sheriff's Department to falsely and
fraudulently award accreditation as described above.

61. The ultimate purpose of this conspiracy was to subvert justice by
interfering with the administration of justice in the federal court concerning not only the
1995 U.S. District Court Consent Decree and the ongoing investigation by the U.S.
Department of Justice, but, also pending and future litigation in the Courts of the United
States.

62. The Harrison County Board of Supervisors, the Sheriff, the ACA, its
corporate officers and employees and its Executive Director Gondles and the other
defendants had a duty to discover such conspiracy to subvert justice and to prevent it;
which they negligently failed to do.

INTENTIONAL USE OF INJURIUOUS EXCESSIVE FORCE

63. Corrections Officers of the HCADC used unnecessary, unreasonable and

wanton force on pre-trial detainee Al-Khidhr when he was brutally beaten in Booking on

or about March 13, 2005. Such force was intentional, malicious, sadistic, excessive, not

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applied in good faith and was used for the sole purpose of causing harm and inflicting
pain. Such force amounted to willful punishment of a pre-trial detainee.
64. The force described in the preceding paragraph:

A. Was grossly disproportionate to any need for use of force and was
inspired by malice rather than merely careless or unwise zeal.

B. Said force amounted to an abuse of official power, intentional to
the extent that it "shocks the conscience.”

Cc. Such force evidenced a “deliberate indifference” to the safety,

well-being and protections afforded Aj-Khidhr.

D. Such force caused significant pain and unbearable suffering to
Al-Khidhr.

E. Such force amounted to cruel and unusual punishment.

F, Such force caused and directly resulted in substantial, severe,

significant, debilitating and permanent physical, mental and psychological injuries to Al-
Khidhr.

65. These intentional injurious actions by Correctional Officers in HCADC
Booking violated the due process protections afforded Al-Khidhr under the Fourth and
Fourteenth Amendments to the U.S. Constitution and violated Al-Khidhr's protections
under the Eighth Amendment prohibiting cruel and unusual punishment as it applies to

incarcerated persons being held as pre-trial detainees.

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DELIBERATE INDIFFERENCE TO SERIOUS MEDICAL NEEDS
FOR SUBSTANTIAL {INJURIES SUSTAINED BY AL-KHIDHR
FROM BRUTAL BEATING IN BOOKING
66. Plaintiff, Only Al-Khidhr, suffered serious injuries and substantial pain
and suffering due to the injuries he sustained at the hands of Harrison County
Correctional Officers. These injuries suffered by Al-Khidhr were immediately obvious
and readily apparent (even to a non-medical professional/lay person) evidencing the need

for timely medical attention.

67. After Al-Khidhr's beating:

A. Both of his eyes were severely swollen, bruised, blackened and
bloodied:

B. One eye was swollen completely shut;

Cc. A large bloody gash was between his eyes;

D. His whole face was deformed and distended;

E. His nose was broken and there were numerous cuts on his face;

F. His clothing was covered in his own blocd. His injuries were so

gross and obvious that his appearance was literally shocking. Exhibit “A”

68. Regardless of these obvious, readily apparent and immediately observable
injuries; Al-Khidhr was denied necessary medical care and treatment by Correctional
Officers of the HCADC and by Health Assurance medical personnel who were
deliberately indifferent to his objectively serious and plainly obvious medical needs.

69. These Officers and medical personnel were aware and/or knew of his

serious medical needs but intentionally disregarded them. Such conduct rose to the Jevel

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of constituting the unnecessary, willful, wanton and intentional infliction of substantial
pain and suffering. Such conduct rose to the level of cruel and unusual punishment.

70. Such conduct: (1) Exposed Al-Khidhr to a substantial risk of serious
damage to his future health. (2) Denied Al-Khidhr reasonable medical care for which a
pre-trial detainee was entitled. (3) Such denial and deliberate indifference to Al-Khidhr's
obvious need for timely treatment of serious, substantial and painful injury, in and of
itself, violated the due process protections afforded him under the Fourth and Fourteenth
Amendments to the U.S. Constitution and violated Al-Khidhr's protections under the
Eighth Amendment prohibiting cruel and unusual punishment as it applies to incarcerated
persons being held as pre-trial detainees.

CONSPIRACY TO COVER-UP BEATING(S)
BY CORRECTIONAL OFFICERS

71. Supervisors and supervisory personnel of the HCADC had actual
kenpmowiede and acquiescence of their Correctional Officers and other employ
injurious actions against Al-Khidhr.

72. Prior to the intentional injuries inflicted upon pre-trial detainee Al-Khidhr,
these supervisors and supervisory personnel were aware of similar injurious actions
against other pre-trial detainees.

73. After Al-Khidhr's beating, Defendants participated in a conspiratorial
scheme to camouflage, cover-up, falsely explain and/or deny what in truth and in fact
happened to Al-Khidhr.

74, In aid of their conspiracy, Defendants directly, intentionally and falsely

accused Al-Khidhr of having illegal narcotics in his system, assaulting Correctional

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Officers and committing further criminal acts for which Al-Khidhr could be charged,
prosecuted and punished.

75. Defendants made other false statements that Al-Khidhr had been injured
prior to arriving at the HCADC.

76. Defendants also threatened Al-Khidhr with criminal prosecution for
making knowingly false accusations against law enforcement officers if Al-Khidhr
persisted in his complaints of abuse by the HCADC Corrections Officers.

77. The aforementioned false statements and threats were intentionally made
by Supervisors who were officials of the Harrison County Sheriff's Department and the
HCADC having final policy making authority, Defendants Captain Gaston and Captain
Campbell.

78. These false statements and threats were made in furtherance of a
conspiracy to cover-up, conceal and otherwise camouflage an existing pattern and
continuing custom of the gross misuse of force within the Booking Department of the
HCADC against detainees such as Al-Khidhr.

79. These false statements and threats were intentionally made in furtherance
of a conspiracy by these two aforementioned policy making Defendants in order to
protect the HCADC's recently received ACA accreditation, to protect themselves and the
Sheriff from existing and potential lawsuits in Federal Court, to prevent possible
repercussions concerning the existing U.S. District Court Consent Decree and to thwart
or otherwise obstruct the ongoing investigation and concerns of the U.S. Department of

Justice.

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80. In furtherance of this conspiracy to cover-up and conceal the pattern of
abuse and misuse of force within Booking on pre-trial detainees such as Al-Khidhr,
Defendants Teel, Morgan and other Corrections Officer falsified reports by intentionally
and incorrectly documenting events involving the use of force against pre-trial detainees
and/or by failing to properly document events and/or not documenting in writing uses of
force in Booking.

81. In furtherance of this conspiracy to cover-up and conceal the pattern of
abuse and misuse of force within Booking on pre-trial detainees such as Al-Khidhr,
Defendant Captain Steve Campbell, as the ranking officer with final decision making
authority for the Professional Standards Unit a/k/a Internal Affairs Division of the
Sheriff's Department aided and abetted the misuse of force within Booking by assisting in
covering up and concealing the actions of the Corrections Officers.

82. Campbell’s assistance included reviewing, condoning and approving
falsified reports and/or lack of reports on the use of force.

83. Campbell did so by tacitly instructing the Correction Officers how to
avoid detection by the video surveillance cameras in Booking and/or how to move and
act while in view of the video cameras to avoid accurate documentation of events
involving use of force on pre-trial detainees.

84. In addition to the acts of commission/omission mentioned herein above,
Campbell failed to take appropriate investigative actions and recommend appropriate
disciplinary measures in order to prevent the abusive and injurious actions of the

Corrections Officers in Booking. Campbell had a positive duty to do so.

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85. In furtherance of this conspiracy to cover-up and conceal the pattern of
abuse and misuse of force within Booking on pre-trial detainees such as Al-Khidhr,
Defendant Major Wayne Payne, as Campbell's immediate supervisor, approved
Campbell's actions and even participated with Campbell in actions to deceive the
inquiring public, federal authorities and complaining citizens.

86. In furtherance of this conspiracy to cover-up and conceal the pattern of
abuse and misuse of force within Booking on pre-trial detainees such as Al-Khidhr,
Defendant Sheriff George Payne, approved Major Wayne Payne's and Captain
Campbell's actions and even participated with them in actions to deceive the inquiring
public, federal authorities and complaining citizens.

87. Sheriff Payne had an affirmative duty to prevent this ongoing conspiracy,
which he negligently failed to do, thus allowing the abuses and injuries to Al-Khidhr and
others.

88. The Supervisors of Harrison County had an affirmative duty to be aware
of and prevent this ongoing conspiracy concerning the covering up of on-going abuses in
the HCADC involving Al-Khidhr and other similarly situated pre-trial detainees. They
negligently failed to do so thus allowing the abuses and injuries to Al-Khidhr and others.

KNOWLEDGE OF HABIT, PATTERN, CUSTOM OR POLICY

89. Prior to (and after) Al-Khidhr's brutal beating in Booking, elected officials
and appointed officers with final policy making authority, were aware of a habit, pattern,
custom or policy of the use intentional injurious excessive force against both prisoners
and more relevant to this action, pre-trial detainees, within the HCADC in direct violation

of the federally mandated constitutional protections afforded citizens and other persons

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so incarcerated. Their knowledge was personal and/or official, individual and
cumulative. Their knowledge was of public record both before and after Al-Khidhr's
beating, as official correspondence from the United States Department of Justice,
formally addressed to Sheriff George Payne and the Harrison County Board of
Supervisors, put them on official notice that officials of the Department of Justice had
determined that a "very disturbing pattern of misuse of force" existed within the HCADC
concerning improper and excessive use of force against detained and incarcerated persons
held within their facility. Further, the HCADC was under a Consent Decree from this
Honorable Court (judgment filed of record on January 12, 1995 with the United States
District Court) concerning the deteriorated conditions of incarceration and improper
treatment of incarcerated persons and detainees.
EVIDENCE AND DOCUMENTATION OF OFFICIAL RECORD

90. Evidence in the form of numerous sworn eye-witness testimony is now of
public record before this Honorable Court by virtue of the guilty pleas of former
Correctional Officers to criminal charges concerning intentional, abusive, harmful,
injurious, unnecessary, malicious, wanton and willful use of excessive force against pre-
trial detainees and prisoners.

91. The aforementioned evidence documents a wide spread and lengthy habit,
pattern or custom of abusing detained and incarcerated persons by the use of excessive
force resulting in significant injuries. This evidence also came to light and of record
during the trial of two supervisory personnel Defendants Gaston and Teel in the United
States District Court, Southern Division of Mississippi. (Specifically, during the trial,

former Corrections Officers testified in open court to the routine and pervasive physical

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and mental! abuse of pre-trial detainees in the Booking Division of the HCADC. Further,
these witnesses testified to personal participation and observation of supervisors and
Deputy Sheriff's up to the rank of Major having participation, personal knowledge of and
otherwise being aware of these former Corrections Officers abusive actions.)
PERSISTENT AND WIDESPREAD PRACTICES OF
INJURIOUS ABUSE AND USE OF EXCESSIVE FORCE ON
PRE-TRIAL DETAINEES THAT "SHOCK THE CONCIENCE"
WELCOME TO THE HOUSE OF PAYNE

92. Shift supervisor Sergeant Ryan Teel, commonly referred to the HCADC
as the "House of Payne" as a play on words of the Sheriff's last name and the term "pain."

93. Other Correction Officers, including Morgan, working on Teel's shift
commonly welcomed arriving arrestees into the Booking room of the HCADC using this
term.

94. The phrase “Welcome to the House of Payne!” was used in a menacing,
threatening manner designed specifically to immediately intimidate and instill fear and
psychological terror.

95. The Correctional Officer’s routine statements (such as the one mentioned)
upon arriving and during the in-processing of detainees within Booking evidence a
pattern and practice of behavior that was pre-planned, customary, routine and intentional.

“THUMPING” ARRIVING ARRESTEES

96. Corrections Officers also routinely “thumped” arriving arrestees by

slamming their heads down onto the Booking Room counter where handcuffed arrestees

where initially processed upon arrival in Booking.

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97. Corrections Officers would escort a handcuffed arrestee up to the in-
processing Booking Room counter and then without warning “thump” the head of the
arrestee on the hard counter.

98. This "thump" resulted in pain and suffering to the individual thumped and
many times resulted in a bloody cut, split or gash on the person's head and/or face.

99. After the thump, medical treatment was not provided and, if bleeding, the
arrestee was further berated for causing a mess, etc.

100. After a “thump,” no medical care or treatment was given to the arriving
arrestee, regardless of obvious and apparent inyury.

101. Such force in the manner described evidenced the habit, pattern, custom
and usage by Correctional Officers within HCADC Booking of the intentional infliction
of pain without justification on detainees resulting in cruel and unusual punishment.

ARRIVING ARRESTEES WHO WERE CONSIDERED
VERBALLY AGGRESSIVE WERE RESPONDED TO WITH

EXCESSIVE AND UNJUSTIFIED USE OF UNNECESSARY FORCE

102. Teel, Morgan and the other Defendant Corrections Officers would
routinely berate and belittle and otherwise antagonize arriving arrestees to incite them to
respond. When an arriving arrestee responded, in any manner deemed to be “unruly” or
even "verbally aggressive," Corrections Officers in Booking would react with abusive,
unnecessary, unjustified, excessive and injurious use of force.

103. Merely speaking up was considered a show of "aggression." This
unnecessary response and misuse of force included striking with fists to the face and

body, kicking, choking and slamming an arriving arrestee against the concrete walls and

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floors within the Booking area while the arriving arrestee was still restrained with
handcuffs.

104. After the aforementioned uses of force, no medical care or treatment was
given to the assaulted arriving arrestee regardless of obvious and apparent injury and
pain,

105. Unless a 'Use of Force Report’ was generated, medical personnel on duty
did not examine the injured arrestee/detainee even if they witnessed the unjustified
assaults, which the on duty Health Assurance medical personnel routinely did.

106. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain
without justification on detainees resulting in cruel and unusual punishment.

THEME NIGHTS IN BOOKING

107. Corrections officers working in Booking had “theme nights", where
various nights of the week had specific titles.

108. Some of the aforementioned “theme nights” were: “Drunk Bitch
Wednesday”, “Thump a Thug Thursday”, “Fight Night Friday” and “Slap a Hoe (whore)
Saturday.”

109. The very existence of these “theme nights” evidences a callous and
degrading disregard for the dignity of arrested citizens entering the Booking area as pre-
trial detainees and a cavalier attitude towards the civil rights and protections afforded
citizens merely accused of committing crimes and being temporarily held as pre-trial

detainees.

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110. After these uses of force, no medical care or treatment was given to the
assaulted arriving arrestee regardless of obvious and apparent injury and pain.

111. Unless a Use of Force Report’ was generated, medical personnel on duty
did not examine the injured arrestee/detainee even if they witnessed the unjustified
assaults, which the on duty Health Assurance medical personnel routinely did.

112. Such force in the aforesaid manner evidenced the habit, pattern, custom
and usage by Correctional Officers within HCADC Booking of the intentional infliction
of pain without justification on detainees, resulting in crue! and unusual punishment.

THE FLOOR SHOWS

113. Corrections Officers working in Booking also had what was referred to as
"Floor Shows", which involved a coded invitation extended to the other HCADC
Correction Officers, Deputy Sheriffs and staff to come to Booking for special events
called “floor shows.”

114. These “floor shows” involved Teel, Morgan and other Corrections
Officers in Booking putting on a "show" for the other officers present. The "show"
involved inhumane treatment of restrained detainees in a manner and means similar to
physical and psychological torture, that was designed to terrify detained persons in
Booking by the use of demeaning, dehumanizing, degrading activities and excessive,
injurious force and threats including being beaten and/or choked to death.

115. While the subject of the “floor show” was being abused, beaten,
demeaned, threatened, terrified and tortured by the Correction Officers in Booking, the

watching crowd of HCADC officers and staff would join in with insults, sarcastic

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comments, derogatory remarks and even laughter in response to the cries of agony of the
abused detainee that were evidenced by pain-filled yells, yowls, moans, and screams.

116. After these “Floor Shows” / uses of force, no medical care or treatment
was given to the assaulted arriving arrestee regardless of obvious and apparent injury and
pain.

117. Unless a 'Use of Force Report' was generated, medical personnel on duty
did not examine the injured arrestee/detainee even if they witnessed the unjustified
assaults, which the on duty Health Assurance medical personnel routinely did.

118. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain
without justification on detainees, resulting in cruel and unusual punishment.

THE SLEEPER GAME

119. Teel, Morgan and other Corrections Officers in Booking would play the
"Sleeper" game with intoxicated detainees held in Booking.

120. The "Sleeper" game involved a Corrections Officer grabbing an
intoxicated detainee (usually in the shower with no video recording), placing one arm
around the detainee's neck and then locking both hands together in a choke hold. The
Correction Officer would then tightly squeeze the detainee's neck until the detainee
‘blacked out’ (from lack of oxygen to the brain), after which the Corrections Officer
would hold up the ‘passed out' detainee until the he/she regained consciousness. When
the choked drunken detainee ‘woke up’, the Corrections Officer would say, “Why are you
falling asleep?”, “Wake up!” and/or similar words to that effect. Then the Corrections

Officer would repeat the process causing the restrained and helpless detainee to black out

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again, to the amusement of the Corrections Officers. The process would be repeated
upon the whim of the participating Corrections Officers regardless of the risk to the
drunken detainee chosen as the "Sleeper."

121. After the "Sleeper" game, no medical care or treatment was given to the
assaulted arriving arrestee regardless of obvious and apparent injury and pain.

122. Unless a ‘Use of Force Report' was generated, medical personnel on duty
did not examine the injured arrestee/detainee even if they witnessed the unjustified
assaults, which the on duty Health Assurance medical personnel routinely did.

123. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain
without justification on detainees resulting in cruel and unusual punishment.

THE NO HABLOES

124. Teel, Thompson and other Corrections Officers in Booking referred to
Spanish speaking detainees as the "No Habloes."

125. These non-English speaking detainees were routinely abused, harassed,
intimidated and threatened.

126. “No Habloes” would be instructed (by means of subtle hand signals) to
step towards the Correction Officers while putting their hands up over their heads, after
which the Correction Officers would respond by punching, kicking and using other
untoward, unnecessary and excessive injurious force against them. The video cameras
recording these incidences in Booking would then reflect these detainees stepping
towards the Corrections Officers while raising their hands which the Corrections Officers

would assert justifying their actions by claiming they were defending themselves.

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127. After a “No Hablo” was abused in this manner, no medical care or
treatment was given to the assaulted arriving arrestee regardless of obvious and apparent
injury and pain.

128. Unless a ‘Use of Force Report’ was generated, medical personnel on duty
did not examine the injured arrestee/detainee even if they witnessed the unjustified
assaults, which the on duty Health Assurance medical personnel routinely did.

129. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain
without justification on detainees resulting in cruel and unusual punishment.

THE SHOWER

130. Teel, Thompson and other Correction Officers routinely used the shower
facility within Booking for special purposes. Although designed for use as a shower and
secluded area where in-processing persons could change clothes and be searched
(especially females), the Correction Officers used the “shower” for their own special
purposes.

131. The Corrections Officers knew there were no video surveillance cameras
in the shower.

132. The Corrections Officers used the lack of surveillance cameras in the
shower to their advantage in order to avoid video documentation of their most brutal,
sadistic and savage uses of injurious excessive force.

133. Corrections Officers would escort a selected detainee into the shower
where they would savagely punch, strike, kick and otherwise beat and physically abuse

the unlucky detainee.

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134. When a detainee was being beaten and abused inside the shower,
Correction Officers abusing them would shout, “Quit resisting, Quit resisting!”, although
the detainee being beaten was not resisting.

135. Corrections Officers outside the shower would join in the refrain also
shouting, "Quit resisting, Quit resisting!"

136. When satisfied that the detainee had received enough "Get Right" or
punishment, the detainee would be dragged out of the shower and thrown into a holding
cell or sometimes left lying moaning and bleeding on the Booking room floor as an
“example” to others who might get smart, mouth off, want to fight or otherwise in any
manner attempt to challenge the authority of the Corrections Officers.

137. Often, so much blood and other bodily fluids remained on the floor of the
shower or elsewhere after an inmate beating that an inmate trustee would be required to
mop up the mess.

138. After a detainee was abused in this manner, no medical care or treatment
was given to the detainee unless a ‘Report of Use of Force’ was generated which required
examination by the HCADC medical staff and their signature on the report. Unless a
‘Use of Force Report’ was generated, medical personnel on duty did not examine the
injured arrestee/detainee even if they witnessed the unjustified assaults, which the on
duty Health Assurance medical personnel routinely did.

139. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain

without justification on detainees resulting in cruel and unusual punishment.

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SPRAY THE BITCH

140. When females were brought into the shower to be searched and change
into the required attire for incarcerated persons, they would be escorted by female
Correctional Officers. While in the showers, the male Correctional Officers would listen
for any indication that the female detainee did not immediately comply with female
Corrections Officer's commands. Upon any indication of any non-compliance, Teel,
Thompson and other Correctional Officers would immediately shout, “Spray that Bitch.
Go on spray her. Spray the Bitch! Spray her now...." and/or similar words to encourage
the female Corrections Officers within the shower to spray the naked or partially clothed
female detainee with Mace, pepper spray or similar pain inducing aerosol chemicals.

141. Teel, Thompson and other Correctional Officers encouraged the
aforementioned completely unnecessary use of unjustified, painful and excessive use of
force for their own purposes and to encourage their fellow female Corrections Officers to
follow their lead by routinely abusing and employing unnecessary force on non-
compliant and/or verbaliy aggressive detainees who were not a threat.

142, Encouragement to use such force in this manner evidenced the habit,
pattern, custom and usage by Correctional Officers within HCADC Booking of the
intentional infliction of pain without justification on detainees resulting in cruel and
unusual punishment.

143. Such encouragement of the use of force in this manner evidenced the
habit, pattern, custom and usage by Correctional Officers within HCADC Booking of the
intentional infliction of pain without justification on detainees resulting in cruel and

unusual punishment.

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USE YOUR WHOLE BODY TO MAKE ME FEEL GOOD

144. Teel, Thompson and others would use all manner of derogatory terms and
make all manner of demeaning comments to intimidate and terrify detainees within
Booking.

145. The aforementioned statements where specifically designed to instill fear
and grave concern upon the listener.

146. While in the shower with detainees, Correction Officers would routinely
make comments about sexually related matters and comment about the disrobing
detainees while detainees were required to change clothes in front of them and their
persons searched.

147. Teel and others would also state, “I'm going to use your whole body to
make me feel good" and/or similar words to that effect. Often, after this particular
comment, depending upon the response of the detainee, the detainee would be physically
abused with use of excessive and unjustified injurious force.

148. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain
without justification on detainees resulting in the intentional infliction of cruel and
unusual punishment.

YARB CALLS

149. Another example of the habit, pattern, custom and use of excessive force
within the HCADC was the use of “Yard Calls.” “Yard Calls” were similar to “Floor
Shows” in Booking, but involved taking a prisoner to the enclosed and secured area of

the HCADC outside of the main facility. Once outside with the prisoner, Correction

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Officers and others would participate in what was generally termed “get right” as pay
back against the prisoner for some alleged offense, procedural violation or personal
affront.

150. During “Yard Calls” the prisoner would be beaten, kicked, punched and
otherwise physically assaulted by anyone and everyone present and then taken back and
thrown into a ceil.

151. After a “Yard Call,” no medical care or treatment was given to the
prisoner regardless of obvious and apparent injuries.

152. Such force in this manner evidenced the habit, pattern, custom and usage
by Correctional Officers within HCADC Booking of the intentional infliction of pain
without justification on detainees, resulting in cruel and unusual punishment.

FAILURE TO PROPERLY TRAIN AND SUPERVISE

153. The above described widespread practices of abuse and the specific
incident involving the brutal beating of Al-Khidhr were a direct result of Sheriff Payne
and/or other final policy making officers under him failing to properly train and/or
supervise the Corrections Officers and their supervisors.

154. With proper training, these abuses in Booking could not have occurred to
the extent that such abuses became widespread and persistent practices.

155. Such abject failure by the Sheriff and/or other final policy making officers,
to properly train and/or supervise his Corrections Officers and their supervisors
constituted deliberate indifference to Al-Khidhr's and other detainees safety, welfare and

their constitutional protections, privileges, immunities and rights and directly resulted in

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the “very disturbing pattern concerning misuse of force” as determined by the U.S.
Department of Justice.

156. The direct actions and knowledge of the Sheriff and his subordinates with
final policy making authority intentionally allowed this abject lack of training and/or
supervision to become so pervasive, endemic and well settled within the HCADC as to
constitute a custom with the force of law.

157. Sheriff George Payne had been put on notice by the U.S. Department of
Justice of concerns of “misuse of force” in June of 2005, and instead of ensuring proper
oversight and supervision of his Corrections Officers, he intentionally chose to acquiesce
in the continuing abusive actions towards detainees within the HCADC.

158. Major Wayne Payne, Captain Steve Campbell and Captain Rick Gaston
not only acquiesced in the continuing abusive actions towards detainees within the
HCADC, but also encouraged, participated in and/or covered up these abusive and
injurious actions by their officers.

159. Payne, Campbell and Gaston all had personal knowledge and/or
participation in the lack of proper supervision and training and were aware of the
continuing misuse of force by Correction Officers within the HCADC,

160. Instead of ensuring proper oversight and supervision of their Corrections
Officers, these Defendants, intentionally chose not only to acquiesce in the continuing
abusive actions towards detainees within the HCADC, but also to participate therein.

161. The Harrison County Board of Supervisors had been put on notice by the
1995 U.S. District Court Consent Decree of abusive conditions and by the U.S.

Department of Justice of concerns of “misuse of force” in June of 2005, and instead of

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ensuring proper oversight by requiring proper training and supervision of the Corrections
Officers employed within the HCADC intentionally chose to acquiesce in the continuing
abusive actions towards the detainees.

162. Proper training and supervision would have prevented the deprivations,
abuses and injuries Al-Khidhr and others suffered.

163. And now having set forth the known facts and credible evidence
concerning the conspiratorial custom, habit, pattern and usage of unnecessary, excessive
injurious force, at all times relevant and materia! to this Complaint, and having set forth
known facts and provable evidence concerning the improper hiring, lack of required
training and complete failure to supervise the Corrections Officers of the HCADC, and
having set forth the conspiratorial actions of officials of Harrison County with final
decision making authority and the conspiratorial actions of the American Correctional
Association and the conspiratorial actions and deliberate indifference to the medical
needs of injured and abused pre-trail detainees by Health Assurance, LLC and the other
Defendants, your Plaintiff reaffirms these allegations and incorporates each and every
allegation and Defendant in his Specific Statement of the Facts.

SPECIFIC STATEMENT OF THE FACTS
ARREST AND DETENTION OF AL-KHIDHR

164. On or about March 13, 2005 Plaintiff, Only Al Khidhr was arrested on
suspicion of violation of law for committing a misdemeanor crime and transported to the
Harrison County Adult Detention Center (HCADC) where he was booked into custody.

He was not injured when he arrived.

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165. After arrival at the HCADC intake area as an arrestee, Al Khidhr held the
legal status of a "pre-trial detainee." He had not been convicted of any crime. He had not
been sentenced to any period of incarceration as punishment. Al Khidhr was not a
convicted offender for these charges. He was not incarcerated for any judicially
sanctioned punishment. He was merely being held on suspicion of committing a crime.

AL KHIDHR TAKEN INTO THE "SHOWER"

166. At some point after arriving in Booking, Al Khidhr was taken into the
Booking Room "shower."

167, Al Khidhr did not need a shower.

168. There were no surveillance cameras inside the separate room in booking
containing the shower.

169. The Corrections Officers were well aware that there were no cameras or
other means of video recording or seeing inside the shower room (the "shower") when
they took Al Khidhr inside there.

170. There is only one door to the shower and no windows.

171. They did not take Al Khidhr in there for a shower.

172. They took Al Khidhr into the shower to intentionally assault him.

173. Once inside the shower, Al Khidhr and the Corrections Officers with him
could not been seen from the general Booking Room area.

AL KHIDHR BRUTALLY BEATEN
174. Al Khidhr was then brutally beaten inside the shower by Correction

Officer Morgan Thompson and others.

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175. He was assisted by his supervisor, Sergeant Ryan Teel and other yet
unidentified Corrections Officers.

176. Al Khidhr was forcefully kicked and repeatedly struck in the head, face
and body.

177. All the Corrections Officers striking, kicking and/or holding Al Khidhr
used intentional, unnecessary, wanton and willful excessive force.

178. This force was without any justification.

179. The brutal and bloody blows where on portions of Al Khidhr's body
without any justification whatsoever.

180. The multiple strikes by fists, feet, elbows and hands were on a restrained
person.

181. The injurious blows were not in self-defense.

182. The injurious blows amounted to an assault and battery.

183. The actions of these Corrections Officers were sadistic in nature and for
the sole purpose of exacting corporal punishment and revenge and/or other satisfaction
for some insult/offense they believed Al Khidhr had committed.

184. While restrained, Al Khidhr was repeatedly and forcefully kicked and/or
struck in and about his head and face while lying on the floor of the shower and/or other
areas of the Booking Room.

185. Al Khidhr was repeatedly struck and/or kicked over other portions of his

body.

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186. After his beatings, the Corrections Officers brought Al Khidhr out of the
shower and laughing out loud bragged to others in Booking that they had "Skull Drug"
him.

187. The brutal blows broke his nose.

188. The brutal blows blackened both his eyes.

189. The brutal blows damaged both his eyes to such an extent that his right
eye was swollen completely shut and his vision became blurry.

190. Al Khidhr was kicked and beaten until his face was a bloody mess.

AL KHIDHR DENIED NEEDED MEDICAL ASSISTANCE
191. After his sadistic abuse and brutal beating, Ai Khidhr's injuries were
plainly obvious and observable to anyone looking at him.
192. His need for immediate medical care, assistance and treatment was plainly
obvious and observable to anyone looking at him after the savage assault upon him.

192. Medical personnel on duty were present, saw Al Khidhr after the savage
assault upon him, observed his gross injuries and did nothing to provide needed medical
care and assistance for him.

193. Corrections Officers were present, saw Al Khidhr after the savage assault
upon him, observed his gross injuries and did nothing to provide needed medical care and
assistance for him.

194, Supervisory personnel were present, saw Al Khidhr after the savage
assault upon him, observed his gross injuries and did nothing to provide needed medical

care and assistance for him.

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195. Al Khidhr suffered unnecessary pain and suffering, a worsening of his
condition and a substantial risk of serious harm from the denial of this needed medical
care and assistance.

"TROPHY" PICTURE OF AL KHIDHR

196. Sometime after Al Khidhr's brutal beating, his picture was taken in
booking as a “trophy” while Thompson bragged about the brutal beating he had given Al
Khidhr.

197. A true and correct copy of the Booking Room picture taken by Corrections
Officers after Al Khidhr was brutally beaten is attached to this Complaint as Exhibit
“A”.

198. The graphic photograph clearly documents the areas of Al Khidhr's head
and face that suffered significant injury at the hands of Thompson, Teel and others.

199. When the photograph was taken, Al Khidhr had suffered the following

injuries:

A. His face and head were swolien and cut and bruised in numerous
locations;

B. His right eye was purple and black and swollen completely shut:

C. His left eye bruised blackened;

D. His nose broken, bloodied, swollen and cut;

E. His mouth swollen;
F. His face distorted;

G, His face had numerous bloody cuts and splotches of dried biood.

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TAUNTING AND HUMILIATION

200. Sometime after his brutal beating, while still in Booking, Corrections
Officers taunted Al Khidhr by bragging that they had "Skull Drug" him and further
pointing to his now bloodied, beaten and grotesque face stating, "Ain't that pretty" and/or
similar words to the nurse on duty and others present.

201. Sometime after his brutal beating, Correction Officer Morgan Thompson
printed up numerous copies of Al Khidhr's Booking photograph and posted those graphic
and demeaning photos of him through out Booking.

202. After his brutal beating, Correction Officer Morgan Thompson and others
would point to Al Khidhr's photograph and brag about what they had done to him and
make fun of his grotesque appearance.

203. The photographs remained posted in Booking for some time with
numerous Correction Officers and Deputies coming to see Al Khidhr's photograph.

204. Sometime after this brutal beating, believed to be the next day, under
specific orders from Captain Rick Gaston, two deputies transported Al Khidhr to a nearby
hospital. These two deputies took Al Khidhr to the hospital but instead of assisting him
in checking in to the emergency room; dumped him out of their vehicle outside the
entrance like a ‘sack of meat' and drove off.

205. Officials and/or supervisors of the Sheriff's Department/HCADC with
final decision making authority were aware of the injurious assault against Al Khidhr.

206. None of the Corrections Officers were ever disciplined for the brutal

beating of Al Khidhr.

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207. None of the Corrections Officers were ever disciplined for any of their
numerous violations against Al Khidhr.

DECEPTIVE STATEMENTS AND CONSPIRACY TO COVER-UP

208. At some point after the savage assault and brutal beating, Al Khidhr
complained to Captain Campbell and Captain Gaston concerning the assault upon him in
Booking.

209. Gaston and/or Campbell told Al Khidhr that he had "slipped and fell" in
the shower and/or similar words to that effect.

210. Gaston and/or Campbell told Al Khidhr that he "looked like that before
you got here" and/or similar words to that effect.

211. Gaston and/or Campbell also informed Al Khidhr that he had initiated the
confrontation when he tried to "grab" a Corrections Officer (believed to be Officer Lee)
and/or other officers prior to the assault upon him and/or similar statements.

212. Gaston and/or Campbell also informed Al Khidhr that all of the
confrontation (that he initiated) was on video.

213. Al Khidhr asked for his bloody clothes (jeans, T-shirts and sport shirt) that
had been taken from him, but Gaston and/or Campbell and/or other Corrections Officers
refused to give them back.

214. Gaston and Campbell knew that Corrections Officer Morgan Thompson,
assisted by Teel and others had brutally beaten and intentionally assaulted Al Khidhr.

215. Gaston and Campbell intentionally made false and deceptive statements to

AI Khidhr to mislead him and falsely cover-up what had really happened to him.

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216. Gaston and Campbell and/or others under their direct supervision,
authority and control, intentionally denied the return of his bloody clothes as they knew it
was forensic evidence of the assault against him and the serious injuries he had sustained.

217. All these actions by Gaston, Campbell and others was in furtherance of an
on-going conspiracy to allow abuse of pre-trial detainees in Booking and then falsely
deny, conceal and cover-up what had occurred.

218. Campbell and Gaston reported directly to Defendant Major Wayne Payne
and/or Sheriff George Payne.

219. Campbell had final policy/decision making authority as the Captain in
charge of Internal Affairs when investigating abuses and assaults to pre-trial detainees
such as Al Khidhr.

220. Gaston had final policy/decision making authority as the Captain in charge
of Booking when supervising Corrections Officers in Booking.

221. The Board of Supervisors had an affirmative duty to be aware of and
prevent this on-going conspiracy to abuse and assault pre-trial detainees but negligently
failed to do so.

222. The Sheriff and all other Defendants with final policy/decision making
authority had an affirmative duty to be aware of and prevent this on-going conspiracy to
abuse and assault pre-trial detainees but negligently failed to do so.

223. These Defendants abject failure to discover and prevent this on-going
conspiracy to assault, abuse and cover-up the numerous injuries and violations to pre-trial
detainees in Booking consequently resulted in and/or directly led to the gross abuses and

subsequent severe injuries to Al Khidhr.

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AL KHIDHR'S PERMANENT INJURIES AND DAMAGES

224. Al Khidhr suffered and still suffers from serious, significant and
permanent injuries, life altering impairments and mental and physical disabilities as a
direct result of the brutal beating he received on or about March 13, 2005 at the hands of
Corrections Officers within Booking at the HCADC.

225. These injuries were compounded by the lack of and/or significant delay of
needed medical care, treatment and attention.

226. As a direct consequence of his severe and brutal beating in the HCADC and
denial of needed medical care and treatment, Al Khidhr suffered and suffers from painful
and disabling conditions.

227. Since his severe and brutal beating in the HCADC and denial of needed
medical care, and directly from and as a consequence of these debilitating injuries and
related impairments, Al Khidhr has been unable to be gainfully employed. Prior to his
brutal beating, Al Khidhr was a local contractor. Consequently, he has lost significant
income and employment opportunities.

228. Since his severe and brutal beating in the HCADC and denial of needed
medical care, and directly from and as a consequence of these debilitating injuries and
related impairments, Al Khidhr has endured significant suffering and prolonged pain.

229. Since his severe and brutal beating in the HCADC and denial of much
needed medical care, and directly and as a consequence of the debilitating injures and

related impairments, Al Khidhr suffers from physical impairments.

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230. Since his severe and brutal beating in the HCADC and denial of much
needed medical care, and directly and as a consequence of the debilitating injuries and
related impairments, Al Khidhr suffers from mental impairments.

CONCLUSION

The brutal beating and subsequent abuse of your Plaintiff, Only Al-Khidhr, cries
out for justice. Al-Khidhr suffered a devastating life altering event at the hands of
sadistic and cruel jailers. He was brutally beaten, abused, taunted and terrorized by
Corrections Officers in Booking after being taken to the Harrison County Adult
Detention Facility. He was denied needed medical care and treatment by these same
officers and present medical staff. Because of this, he will never be the same physically
or mentally. When his complained to officers running the Harrison County Adult
Detention Center, they blamed Al-Khidhr for what happened to him and further
threatened him if he continued to complain. These officers showed zero remorse for Al-
Khidhr's injuries and suffering and further deceitfully and falsely participated in a
conspiracy to conceal and cover-up what really happened to Al-Khidhr in Booking.
Unfortunately, Al-Khidhr was not the exception as evidenced by the numerous abuses
and injuries suffered by other detainees held in Booking. The intentional abuse, brutal
beating, taunting and terrorizing, denial of medical care and humiliation he suffered was
not an unusual event within Booking. A conspiratorial culture of cruelty existed within
the “House of Payne” that created and fostered a custom of abuse, misuse of force and
intentional injury and deprivation to detainees unfortunate enough to be held under

conditions dictated by their tormentors. A conspiracy shielded by the false and

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fraudulent accreditation granted by the American Correctional Association from an
inquiring Justice Department and complaining public.
PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, the Plaintiff, Only Al-Khidhr,
respectfully requests that a timely trial be granted to present the abundant evidence and
eye-witnesses testimony concerning the abusive and injurious actions of these Defendants
against him and at the conclusion of the requested trial that this Honorable Court enter a
judgment as follows:

(1) Against the Defendant Harrison County Board of Supervisors and all other
public official Defendants according to the proof presented against them, jointly and/or
severally, in an award for all actual and compensatory damages, past, current and future,
for and from the injuries, disabilities and suffering sustained by the Plaintiff, Only Al-
Khidhr.

(2) Against the private Defendant, American Correctional Association and its
employees according to the proof presented against them for all actual and compensatory
damages, past, current and future for and from the injuries, disabilities and suffering
sustained by the Plaintiff, Only Al-Khidhr.

(3) Against the private Defendant, Health Assurance LLC and its employees
according to the proof presented against them for all actual and compensatory damages,
past, current and future for and from the injuries, disabilities and suffering sustained by
the Plaintiff, Only Al-Khidhr.

(4) Against the private Defendant, American Correctional Association and its

employees according to the proof presented against them for the intentional, willful and

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wanton, malicious conduct concerning its conspiratorial, false and fraudulent
accreditation of the Harrison County Adult Detention Center that resulted in a deliberate
indifference to the rights, privileges, immunities and protections constitutionally afforded
the Plaintiff and all similarly situated pre-trial detainees evidencing a gross and reckless
disregard and deliberate indifference for the Plaintiff's protections, welfare and safety in
an award of punitive or exemplary damages in an amount sufficient to deter such future
actions against others, protect the integrity of the accreditation of the American Penal
System and to provide for just monetary punishment for these intentional acts and actions
resulting in ultimate harm to the Plaintiff, Only Ai-Khidhr.

(5) Against the private Defendant, Health Assurance LLC and its employees
according to the proof presented against them for the intentional, willful and wanton,
malicious conduct concerning its conspiratorial, complicit and concerted actions with the
public official defendants within the Harrison County Adult Detention Center that
resulted in a deliberate indifference to the medical needs and thus the rights, privileges,
immunities and protections constitutionally afforded the Plaintiff and all similarly
situated pre-trial detainees evidencing a gross and reckless disregard for the Plaintiff's
protections, welfare, health and safety in an award of punitive or exemplary damages in
an amount sufficient to deter such future actions against others, protect the integrity of
the safety of and safeguards of persons detained by the criminal justice system and to
provide for just monetary punishment for these intentional acts and actions resulting in
ultimate harm to the Plaintiff, Only Al-Khidhr.

(6) Against the private Defendant, Health Assurance LLC and its employees

according to the proof presented against them for their failure to properly treat and care

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for the obvious medical needs of the Plaintiff after his brutal beating in Booking which
actions and/or lack of actions evidences medical malpractice.

(7) Against these Defendants, jointly and severally, for all Plaintiff's
reasonable attorney's fees pursuant to 42 USC § 1988 and all associated allowable costs,

related litigation expenses and recoverable expert witness fees.

(8) Against these Defendants for other such relief as this Honorable Court

may deem necessary, appropriate, equitable and just under the circumstances of this

action.

RESPECTFULLY SUBMITTED, this the 2G= day of _/|syembhey 2007.

Only Al- Khidhr, Plaintiff
By His —

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